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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 17-cv-22835-GAYLES


  KATLIN G CABRERA FLORES
  and all others similarly situated under 29
  U.S.C. 216(B),

                 Plaintiffs,

         v.

  N.H. INC. a/k/a MERIDIAN FOOD
  MARKET/MONEYGRAM, MOHAMMED
  HOSSAIN, AND JASMINE HOSSAIN,

                 Defendants.                       /

                SCHEDULING ORDER SETTING CIVIL TRIAL DATE AND
                 PRETRIAL SCHEDULE, REQUIRING MEDIATION, AND
               REFERRING CERTAIN MOTIONS TO MAGISTRATE JUDGE

         THIS CAUSE is set for trial during the Court’s two-week trial calendar beginning on

  Monday, September 4, 2018. The Calendar Call will be held at 9:30 a.m. on Wednesday,

  August 29, 2018. A Status Conference will be held at 9:30 a.m. on Wednesday, June 20,

  2018. The parties shall adhere to the following schedule:

  1.   Joinder of any additional parties and filing of motions to amend the
       complaint by                                                                 12/15/2017

  2.   Written lists containing the names and addresses of all fact witnesses
       intended to be called at trial due by                                        12/29/2017

  3.   Plaintiff(s) shall disclose experts, expert witness summaries, and reports
       as required by Fed. R. Civ. P. 26(a)(2) by                                    2/16/2018

  4.   Defendant(s) shall disclose experts, expert witness summaries, and reports
       as required by Fed. R. Civ. P. 26(a)(2) by                                     3/2/2018

  5.   Exchange of rebuttal expert witness summaries and reports as required by
       Fed. R. Civ. P. 26(a)(2) due by                                               3/30/2018
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  6.    Parties shall select a mediator pursuant to Local Rule 16.2 and shall
        schedule a time, date, and place for mediation by                                 12/29/2017

  7.    Fact discovery shall be completed by                                                4/20/2018

  8.    Expert discovery shall be completed by                                              4/20/2018

  9.    Dispositive motions, including those regarding summary judgment and
        Daubert, must be filed by                                                            5/4/2018

  10.   Mediation shall be completed by                                                     6/15/2018

  11.   All pretrial motions and memoranda of law, including motions in limine,
        must be filed by                                                                     7/6/2018

  12.   Joint pretrial stipulation, proposed joint jury instructions, proposed joint
        verdict form, and/or proposed findings of fact and conclusions of law
        must be filed by                                                                     8/3/2018

  13.   Electronic versions of documentary exhibits and Certificates of
        Compliance re Admitted Evidence shall be filed on CM/ECF by                         8/27/2018



         Motions. Every motion filed in this case shall be accompanied by one proposed original

  order granting the motion. Each party shall be limited to filing one (1) motion in limine. Unless

  otherwise specified by the Court, every motion shall be double spaced in 12-point Times New

  Roman typeface. Multiple Plaintiffs or Defendants shall file joint motions with co-parties

  unless there are clear conflicts of position.

         Referral to Magistrate Judge. Pursuant to 28 U.S.C. § 636, all discovery matters are

  referred to Magistrate Judge Alicia M. Otazo-Reyes to take all appropriate action.

  Furthermore, pursuant to 28 U.S.C. § 636(c)(1), the parties may consent to trial and final

  disposition by Magistrate Judge Otazo-Reyes.

         Mediation. The parties shall select a mediator pursuant to Local Rule 16.2 and shall

  schedule a time, date, and place for mediation. If the parties cannot agree on a mediator, they shall

  notify the Clerk in writing as soon as possible, and the Clerk shall designate a certified
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  mediator on a blind rotation basis. Counsel for all parties shall familiarize themselves with and

  adhere to all provisions of Local Rule 16.2. Within seven (7) days of mediation, the parties are

  required to file a mediation report with the Court.

           Discovery. The parties may stipulate to extend the time to answer interrogatories, produce

  documents, and answer requests for admissions. The parties shall not file with the Court notices

  or motions memorializing any such stipulation unless the stipulation interferes with the deadlines

  set forth above. Stipulations that would so interfere may be made only with the Court’s approval.

  See Fed. R. Civ. P. 29. In addition to the documents enumerated in Local Rule 26.1(b), the parties

  shall not file notices of deposition with the Court. Strict compliance with the Local Rules is

  expected, particularly with regard to motion practice. See S.D. Fla. L.R. 7.1.

           Discovery Disputes. The parties shall follow the attached discovery procedures for

  Magistrate Judge Otazo-Reyes. No written discovery motions, including motions to compel, for

  protective order, or related motions for sanctions shall be filed unless the Magistrate

  Judge requests it after a discovery hearing.

           Electronic Submission of Exhibits. Pursuant to United States District Court for the

  Southern District of Florida Administrative Order 2016-70 regarding electronic submission of

  exhibits, counsel must file in the CM/ECF system electronic versions of documentary exhibits to

  be submitted at trial no later than 48 hours prior to Calendar Call. 1 At the time of filing the

  electronic exhibits, an attorney for each party shall also complete and file the attached

  Certification of Compliance re Admitted Evidence. Electronically filed exhibits are subject

  to CM/ECF Administrative Procedures, Section 6, Redaction of Personal Information, Privacy

  Policy, and Inappropriate Materials. Failure to file the electronic exhibits and Certification of


  1
      This requirement excludes contraband and audio/video recordings. The filing party will file with the Clerk a CD,
      DVD, or other electronic medium containing a copy of any exhibit that is an audio or video recording.
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  Compliance by the date enumerated above may result in the imposition of sanctions. Any

  original exhibits that have been returned to or retained by the filing party after electronic filing

  shall be kept for safe keeping until the conclusion of any appeals; upon order of the Court, the

  filing party must return the original exhibits to the Clerk of Court.

          DONE AND ORDERED in Chambers at Miami, Florida, this 14thth day of November,

  2017.




                                                 ________________________________
                                                 DARRIN P. GAYLES
                                                 UNITED STATES DISTRICT JUDGE
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

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  HOSSAIN, AND JASMINE HOSSAIN,

                 Defendants.                          /

               CERTIFICATE OF COMPLIANCE RE ADMITTED EVIDENCE

  I, ___________________________________________, as counsel for

  ______________________________________________________, hereby certify the following:


  Check the applicable sections:

  □  ALL EXHIBITS E-FILED. All documentary exhibits and photographs of nondocumentary
  physical exhibits to be admitted into evidence have been electronically filed in CM/ECF.

  □   EXHIBITS NOT E-FILED. Some documentary exhibits and/or physical exhibits to be
  admitted into evidence cannot be electronically filed in CM/ECF. This includes and
  contraband. The following identifies those exhibit numbers that have been retained by the
  Clerk, and separately identifies those proposed exhibit numbers retained by this filing party.
  (Attach a list.)

  □ AUDIO/VIDEO EXHIBITS. The following audio and/or video exhibits are to be entered
  into evidence during these proceedings. The filing party has conventionally filed with the Clerk
  of Court a CD or DVD containing the audio or video exhibit. (Attach a list.)

  Any original exhibits that have been returned to or retained by the filing party after electronic filing
  shall be kept for safe keeping until the conclusion of any appeals. Upon order of the Court, the
  filing party agrees to return the original exhibits to the Clerk of Court.

  This Certificate shall be filed by the date provided in the Court’s Scheduling Order. Failure to
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  timely comply with the Electronic Submission of Exhibits requirements provided in the Scheduling
  Order or with the requirements of Administrative Order 2016-70 governing the Electronic
  Submission of Exhibits may result in the imposition of sanctions.

  Signature: ___________________________________________ Date: ____________________
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                            DISCOVERY PROCEDURES FOR
                      MAGISTRATE JUDGE ALICIA M. OTAZO-REYES

          The following discovery procedures apply to all civil cases assigned to United States
  District Judge Darrin P. Gayles.

           If parties are unable to resolve their discovery disputes without Court intervention,
  Magistrate Judge Alicia M. Otazo-Reyes will set the matter for hearing without the need for
  filing a motion.

         The moving party must seek relief within fifteen (15) days after the occurrence of the
  grounds for relief by contacting Magistrate Judge Otazo-Reyes’ Chambers and requesting a hearing.
  Magistrate Judge Otazo-Reyes’ telephone number is (305) 523-5740 and her Chambers are located
  at 301 N. Miami Avenue, 10th Floor, Miami, Florida.

           Once a hearing date is obtained, the movant shall provide notice to all relevant parties by
  filing a Notice of Hearing. The Notice of Hearing shall briefly specify the substance of the discovery
  matter to be heard and include a certification that the parties have complied with the pre-filing
  conference required by Southern District of Florida Local Rule 7.1(a)(3).

          No written discovery motions, including motions to compel and motions for protective
  order, shall be filed unless requested by Magistrate Judge Otazo-Reyes. It is the intent of this
  procedure to minimize the necessity of motions.

           The Court expects all parties to act courteously and professionally in the resolution of
  their discovery disputes and to confer in an attempt to resolve the discovery issue prior to requesting
  the hearing. The Court may impose sanctions, monetary or otherwise, if the Court determines
  discovery is being improperly sought or is not being provided in good faith.
